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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

 ALBERTO PARRA, Individually and on Behalf Case No.: 1:17-cv-00474-JB-JHR
 of All Others Similarly Situated,         Collective Action (29 U.S.C. § 216(b))
                                           Class Action (FED. R. CIV. P. 23)
 v.

 MVCI ENERGY SERVICES, INC.; KELLY
 McCLELLAN; GREG VICK; and CHUCK
 BANKS.


                                          NOTICE OF SETTLEMENT

       Plaintiff, Alberto Parra, files this Notice of Settlement and respectfully shows the Court as

follows:

       The Parties have reached an amicable resolution. The Parties request the Court to remove

this case from its active docket and suspend all other deadlines and settings in this case. The Parties

will file dismissal documents within 30 days.



                                           Respectfully submitted,


                                           By: /s/ Andrew W. Dunlap______________
                                           Michael A. Josephson
                                           State Bar No. 24014780
                                           Andrew W. Dunlap
                                           State Bar No. 24078444
                                           JOSEPHSON DUNLAP LAW FIRM
                                           11 Greenway Plaza, Suite 3050
                                           Houston, Texas 77046
                                           713-352-1100 – Telephone
                                           713-352-3300 – Facsimile
                                           mjosephson@mybackwages.com
                                           adunlap@mybackwages.com
        Case 1:17-cv-00474-JB-JHR Document 43 Filed 06/18/18 Page 2 of 2



                                              -AND-

                                        David J. Jaramillo
                                        JARAMILLO LAW FIRM, PC
                                        505 Roma Ave. NW
                                        Albuquerque, NM 87102
                                        505-200-9454 (p)
                                        505-717-1502 (f)
                                        david@djnmlaw.com
                                        law@djnmlaw.com

                                             -AND-

                                         Richard J. (Rex) Burch
                                         Texas Bar No. 24001807
                                         Federal ID No. 21615
                                         BRUCKNER BURCH, P.L.L.C.
                                         8 Greenway Plaza, Suite 1500
                                         Houston, Texas 77046
                                         713-877-8788 – Telephone
                                         713-877-8065 – Facsimile
                                         rburch@brucknerburch.com

                                         Attorneys for Plaintiff


                                CERTIFICATE OF SERVICE

        I served this document on all registered parties vie the Court’s CM/ECF System on this 18th
day of June 2018.

                                                     /s/ Andrew W. Dunlap
                                                     Andrew W. Dunlap




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